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                                  UNITED STATES DISTRICT COURT
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May 24, 2024

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Re: State of Kansas, et al v. United States Attorney General et al
USDC Kansas Case Number: 6:24-cv-01086-TC-TJJ
USDC Eastern Arkansas Case Number: 2:24-cv-00088-JM

Dear Counsel:

Please be advised that the above named action has been transferred to the U.S. District Court for
the District of Kansas at Wichita, Kansas. We have assigned Civil Action Number 6:24-cv-
01086-TC-TJJ, assigned to the Honorable Toby Crouse, District Judge, and to the
Honorable Teresa J. James, Magistrate Judge, for pretrial proceedings.

Our local rules and information regarding admission pro hac vice can be found at
www.ksd.uscourts.gov or by contacting Attorney Registration at (913) 735-2229.

Please be advised that Department of Justice attorneys have different registration requirements
and must contact Attorney Registration at ksd_attorney_registration@ksd.uscourts.gov or (913)
735-2229.


Sincerely,
Skyler B. O’Hara, Clerk
By: s/M. Barnes
